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Pro Se 1 (Rev, 09/16) Complaint for a Civil Case

FILED
IN CLERKS OFFICE

UNITED STATES DISTRICT CoURT / JAN 26 ANT 5

for the

U.S. DISTRICT COURT

District of Massachusetts DISTRICT OF MASS.

 

PERICLES CLERGEAU
, Plaintiffs)
(Write the full name of each plaintiff who is filing this complaint.
If the names of all the plaintiffs cannot fit in the space above,
please write "see attached" in the space and attach an additional
page with the full list of names.)
-y-

Depettnest of Carrechon etal

Defendant(s)
(Write the full name of each defendant who is being sued, If the
names of all the defendants cannot fit in the space above, please
write “see attached” in the space and attach an additional page
with the full list of names.)

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Case No.

 

(to be filled in by the Clerk’s Office)

Jury Trial: (check one) Vi Yes [No

COMPLAINT FOR A CIVIL CASE

1 The Parties to This Complaint
A. The Plaintiff(s)

Provide the information below for each plaintiff named in the complaint. Attach additional pages if

needed.
Name
Street Address
City and County
State and Zip Code
Telephone Number
E-mail Address

B. The Defendant(s)

PERICLES CLER LEAL
4thaviad kd 0d, EX KO0CO
Shirley - Worcester
MA O14lY

 

 

Provide the information below for each defendant named in the complaint, whether the defendant is an
individual, a government agency, an organization, or a corporation. For an individual defendant,
include the person's job or title (ifiown). Attach additional pages if needed.

Page 1 of 5
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2. Provide the correct civil action number of your case on both the document and
the front of the envelope in which it is enclosed.

3. Sign all documents you file with the court. Place the words "PRO SE” after your
name. Place your address and telephone number on all documents.

The Customer Services Section of the United States District Court Clerk's Office in Boston is located in
Suite 2300, United States Courthouse, 1 Courthouse Way, Boston, MA 02210. Office hours are 8:30 A.M. to

5:00 P.M., Monday through Friday.

If you are located in the Worcester or Springfield area you may contact one of the divisional offices as

indicated below:

 

United States District Court United States District Court
Donohue Federal Building Federal Building & Courthouse
595 Main Street - Room 502 1550 Main Street
Worcester, MA 01608 Springfield, MA 01103
(508) 929-9900 (413) 785-0015

Step by Step

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Pro Se 1 (Rev. 09/16) Complaint for a Civil Case
Defendant No. 1 ,
Name Decartment of Correction

 

 

 

 

 

 

 

Job or Title (if known) Agency of the Commonweal th
Street Address "BO. Maple st softe S

City and County Milgrd - Middlesex

State and Zip Code MA OWS]

Telephone Number

E-mail Address (if known)

 

Defendant No. 2

Name Alevander @. Lussier
Job or Title (fknown) - Correch ona ( O¢ Acer
Street Address ,

City and County
State and Zip Code

 

 

 

Telephone Number

 

E-mail Address (if down)

 

Defendant No. 3

Name Nichdas M_ folakK

Job or Title (if known) Correctenal 6facel
Street Address

City and County
State and Zip Code
Telephone Number

 

 

 

 

E-mail Address (if known)

 

Defendant No. 4

Name Jase ph RK, Som pSOr)

Job or Title (if known) Ex CorreCHional  6fF/cel
Street Address

City and County
State and Zip Code

 

 

 

Telephone Number

 

E-mail Address (if known)

 

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IL.

Basis for Jurisdiction

Federal courts are courts of limited jurisdiction (limited power). Generally, only two types of cases can be
heard in federal court: cases involving a federal question and cases involving diversity of citizenship of the
parties. Under 28 U.S.C. § 1331, a case arising under the United States Constitution or federal laws or treaties
is a federal question case. Under 28 U.S.C. § 1332, a case in which a citizen of one State sues a citizen of
another State or nation and the amount at stake is more than $75,000 is a diversity of citizenship case. Ina
diversity of citizenship case, no defendant may be a citizen of the same State as any plaintiff.

What is the basis for federal court jurisdiction? (check ail that apply)
Federal question [J Diversity of citizenship

Fill out the paragraphs in this section that apply to this case.
A. If the Basis for Jurisdiction Is a Federal Question

List the specific federal statutes, federal treaties, and/or provisions of the United States Constitution that

are a in this case. Cc .
Tee aa USC F/T 5 42 USC s 1J0l ; 8% Amend ynent

 

B. If the Basis for Jurisdiction Is Diversity of Citizenship

 

 

1. The Plaintiff(s)
“a If the plaintiff is an individual
The plaintiff, (name) , is a citizen of the
State of (name)
b. If the plaintiff is a corporation
The plaintiff, (name) , is incorporated

 

_ under the laws of the State of (name) ;

 

and has its principal place of business in the State of (name)

 

(If more than one plaintiff is named in the complaint, attach an additional page providing the
same information for each additional plaintiff.)

2. The Defendant(s)

 

a. If the defendant is an individual
The defendant, (name) is a citizen of
the State of (name) . Or is a citizen of

 

(foreign nation)

 

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b. If the defendant is a corporation
The defendant, (name) , is incorporated under

 

the laws of the State of (name) , and has its

 

principal place of business in the State of (name)

 

Or is incorporated under the laws of (foreign nation) : ,

 

and has its principal place of business in (name)

 

(If more than one defendant is named in the complaint, attach an additional page providing the
same information for each additional defendant.)

3. The Amount in Controversy

The amount in controversy-the amount the plaintiff claims the defendant owes or the amount at
stake-is more than $75,000, not counting interest and costs of court, because (explain):

 

Il. Statement of Claim

Write a short and plain statement of the claim. Do not make legal arguments. State as briefly as possible the
facts showing that each plaintiff is entitled to the damages or other relief sought. State how each defendant was
involved and what each defendant did that caused the plaintiff harm or violated the plaintiff's rights, including
the dates and places of that involvement or conduct. If more than one claim is asserted, number each claim and
write a short and plain statement of each claim in a separate paragraph. Attach additional pages if needed.

PlainblE was threatened and singled ovt due to bis mental illness bY
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event Plai nt FF was Suedued ond placed in hadcote@sd and Shack les and Was
assaulted by officers Wing excessive US OF Farce Where No of Acer ¢ cesent
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IV. Relief co ee Miivestiga hive regork

   
 

  
 

    

State briefly and precisely what damages or other relief the plaintiff asks the court to order. Do not make legal

arguments. Include any basis for claiming that the wrongs alleged are continuing at the present time. Include

the amounts of any actual damages claimed for the acts alleged and the basis for these amounts. Include any

punitive or exemplary damages claimed, the amounts, and the reasons you claim you are entitled to actual or

punitive money damages. ypectation Damages , Actual hamages in the Amant of ed
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V. Certification and Closing

Under Federal Rule of Civil Procedure 11, by signing below, | certify to the best of my knowledge, information,
and belief that this complaint: (1) is not being presented for an improper purpose, such as to harass, cause
unnecessary delay, or needlessly increase the cost of litigation; (2) is supported by existing law or by a
nonfrivolous argument for extending, modifying, or reversing existing law; (3) the factual contentions have
evidentiary support or, if specifically so identified, will likely have evidentiary support after a reasonable
opportunity for further investigation or discovery; and (4) the complaint otherwise complies with the
requirements of Rule 11.

A.

For Parties Without an Attorney

I agree to provide the Clerk's Office with any changes to my address where case-related papers may be
served. I understand that my failure to keep a current address on file with the Clerk's Office may result

in the dismissal of my case.

Date ofsigning: 1_9M-D2\

 

Signature of Plaintiff
Printed Name of Plaintiff

For Attorneys

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Date of signing:

Signature of Attorney
Printed Name of Attorney
Bar Number

Name of Law Firm

Street Address

State and Zip Code

Telephone Number
E-mail Address

 

 

 

 

 

 

 

 

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